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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA, ex rel.
FAYIZ M. HADID and FAYID M. HADID,
a/k/a FRED HADID

               Plaintiffs,

                       v.                           CIVIL ACTION NO. 5:04 CV 60146
                                                    HON. MARIANNE O. BATANNI
JOHNSON CONTROLS, INC. and
READINESS MANAGEMENT
SUPPORT, LC,

               Defendants.

______________________________________/

              UNITED STATES’ CONCURRENCE IN DISMISSAL WITHOUT
              PREJUDICE OF ANY FALSE CLAIMS ACT CAUSE OF ACTION

               The United States of America, by its attorneys, Craig S. Morford, United States

Attorney for the Eastern District of Michigan, and Carolyn Bell Harbin, Assistant United States

Attorney, states the following in connection with the Stipulation and proposed Order to Dismiss

Plaintiff’s False Claims Act Cause of Action Without Prejudice:

       1. The False Claims Act ("FCA") permits a private party (called a "Relator") to bring

suit to recover damages allegedly suffered by the United States due to false claims and other

specified misconduct. See 31 U.S.C. § 3730(b). Under the FCA, the action is filed under seal,

and remains under seal for at least 60 days during which time the United States may elect to

intervene and assume primary responsibility for prosecuting the case. Because the United States

is the true party in interest in a False Claims Act case, even when the United States Department

of Justice does not take over the prosecution of a False Claims Act case, the False Claims Act
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states that the parties to a qui tam action can dismiss the action only with the consent of the

Department of Justice. 31 U.S.C. § 3730(b)(1).

       2. The caption in the above case is styled as if the complaint herein were filed pursuant

to the False Claims Act, and Count II of the complaint refers to the False Claims Act in its title,

and at paragraph 27. Nevertheless, the complaint does not set forth an action to recover

damages allegedly suffered by the United States due to false claims or other acts prohibited by

the FCA. Moreover, the case was not filed under seal, and defendants were served with the

complaint and summons immediately after the case was filed, all of which is inconsistent with

the procedures governing qui tam cases. See 31 U.S.C. § 3730 (b).

       3. For the reasons set forth above, the United States had concluded that it is not a party

in interest in connection with the above-case. However, to the extent that the complaint states

any cause of action pursuant to the False Claims Act, the United States consents to a dismissal of

such False Claims Act action without prejudice.


                                                       Respectfully submitted,

                                                       CRAIG S. MORFORD
                                                       United States Attorney




                                                       /s CAROLYN BELL HARBIN (P27350)
                                                        211 W. Fort Street, Suite 2001
                                                        Detroit, Michigan 48226
                                                        Carolyn.Bell-Harbin@usdoj.gov


Dated: October 7, 2004




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                              CERTIFICATION OF SERVICE


       I hereby certify that on October 7, 2004, I electronically filed the foregoing document
with the Clerk of the Court using the ECF system.

        I further certify that I have mailed by U.S. mail a copy of same to the following non-ECF
participants:

Raymond Guzall, III
Barry A. Seifman, PC
30665 Northwestern Hwy Ste 255
Farmington Hills, MI 48334


John F. Birmingham, Jr.
Foley & Lardner
150 W Jefferson Ave Ste 1000
Detroit, MI 48226



                                                     s/Carolyn Bell Harbin
                                                     Assistant U.S. Attorney
                                                     211 W. Fort St., Ste. 2001
                                                     Detroit, MI 48226
                                                     Phone: (313) 226-9114
                                                     E-mail: carolyn.bell-harbin@usdoj.gov
                                                     (P27350)




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